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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK

  SOCIAL POSITIONING INPUT                       §
  SYSTEMS, LLC,                                  §
                                                 §
          Plaintiff,                             §     Case No: 7:21-cv-09247-PMH
                                                 §
  vs.                                            §     PATENT CASE
                                                 §
  NEXCELERATE, LLC d/b/a                         §     JURY TRIAL DEMANDED
  BTRACKING.COM,                                 §
                                                 §
    Defendant.    §
  _______________ §

                       JOINT STIPULATION AND ORDER OF DISMISSAL

         Plaintiff Social Positioning Input Systems, LLC, and Defendant Nexcelerate, LLC d/b/a

  Btracking.com, by their respective undersigned counsel, hereby STIPULATE and AGREE as

  follows:

          I.     All claims asserted by the Plaintiff in this Action are dismissed with prejudice and

  all counter-claims asserted by the Defendant in this Action are dismissed without prejudice under

  Fed. R. Civ. P. 4l(a)(l)(A)(ii);

         2.      Each party shall bear its own costs and attorneys ' fees with respect to the matters

  dismissed hereby;

         This Stipulation and Order shall finally resolve the Action between the parties.




 JOINT STIPULATION AND ORDER OF DISMISSAL                                                    II
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   Dated: December  , 2021.                Respectfully submitted,




                                            State Bar No. 24067322
                                            KIZZIA JOHNSON PLLC
                                             19 IO Pacific Avenue, Suite 13000
                                            Dallas, Texas 7520 I
                                            (214) 451 -0164
                                            Fax: (214) 451-0165
                                            jay@kjpllc.com

                                            ATTORNEYS FOR PLAINTIFF

                                            FISH & RICHARDSON P.C.



                                            Excylyn J. Hardin-Smith (EHS7780)
                                            hardin-smith@fr.com
                                            7 Times Square, 20th Floor
                                            New York, New York 10036
                                            Tel: (212) 763-5070
                                            Fax: (212) 258-2291

                                            Neil J. McNabnay (pro hac vice to be filed)
                                            Ricardo J. Bonilla (pro hac vice to be filed)
                                            Noel Chakkalakal (pro hac vice to be filed)
                                            1717 Main Street, Suite 5000
                                            Dallas, TX 75201
                                            (214) 747-5070 (Telephone)
                                            (214) 747-2091 (Facsimile)
                                            mcnabnay@fr.com
                                            rbonilla@fr.com
                                            chakkalakal@fr.com

                                            ATTORNEYS FOR DEFENDANT



       SO ORDERED:

                         ___________________________________________
                         UNITED
                         Hon. PhilipSTATES  DISTRICT
                                     M. Halpern,       JUDGE
                                                 U.S.D.J.

                         Dated: White Plains, New York
                                December 20, 2021
 JOINT STIPULATION AND ORDER OF DISMISSAL                                               12
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                                   CERTIFICATE OF SERVICE

           The undersigned hereby certifies that a true copy of the foregoing was filed electronically
   and served by operation of the Court 's electronic filing system on December 17, 2021 . Parties may
   access the foregoing through the Court's system.



                                                      ~




 JOINT STIPULATION AND ORDER OF DISMISSAL                                                    13
